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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.    11-cr-00184-WYD

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. LEON HENDERSON ASKEW,

      Defendant.

                                    MINUTE ORDER

ORDER ENTERED BY CHIEF JUDGE WILEY Y. DANIEL

        THIS MATTER is before the Court on the following four pro se motions:
Defendant’s Motion to Dismiss Indictment [ECF No. 90], filed May 29, 2012;
Defendant’s Motion for Franks Hearing [ECF No. 91], filed May 29, 2012; Defendant’s
Motion for Return of Property [ECF No. 92], filed May 29, 2012; and Defendant’s Motion
for Ineffective Assistance of Counsel [ECF No. 93], filed May 29, 2012.

      Under the law, there is no constitutional right to a hybrid form of representation.
See United States v. Bennett, 539 F.2d 45, 49 (10th Cir. 1976). Defendant is currently
represented by counsel, Daniel T. Smith. Consequently, the Court will not consider a
motion that the Defendant has filed pro se. Accordingly it is

       ORDERED that Defendant’s pro se Motion to Dismiss Indictment [ECF No. 90],
filed May 29, 2012; Defendant’s pro se Motion for Franks Hearing [ECF No. 91], filed May
29, 2012; Defendant’s pro se Motion for Return of Property [ECF No. 92], filed May 29,
2012; and Defendant’s pro se Motion for Ineffective Assistance of Counsel [ECF No. 93],
filed May 29, 2012 are STRICKEN.

      Dated: May 30, 2012
